Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 1 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 2 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 3 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 4 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 5 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 6 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 7 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 8 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 9 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 10 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 11 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 12 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 13 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 14 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 15 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 16 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 17 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 18 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 19 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 20 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 21 of 22
Case 17-81328   Doc 95   Filed 08/31/18 Entered 08/31/18 13:50:19   Desc Main
                          Document     Page 22 of 22
